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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


  INSTITUTE FOR FISHERIES
  RESOURCES, et al.,                                 16-cv-01574-VC

                 Plaintiff,
                                                     JUDGMENT
          v.

  UNITED STATES FOOD AND DRUG
  ADMINISTRATION, et al.,
                 Defendant.


       The Court, having ruled on cross-motions for summary judgment, now enters judgment
in favor of the plaintiffs as to Claims 2, 6, and 10, and enters judgment in favor of the defendants
as to all other pending claims. The Clerk of Court is directed to close the case.
       IT IS SO ORDERED.

Dated: November 12, 2020

                                                 ______________________________________
                                                 VINCE CHHABRIA
                                                 United States District Judge
